Case 1:18-cv-21454-MGC Document 21 Entered on FLSD Docket 06/26/2018 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 18-CV-21454-MGC

  PEPITO RODRIGUEZ, JR.,

                  Plaintiff,

                  vs.

  REX AUTO SERVICE CORP, a Florida
  Profit Corporation; OSWALDO
  CARRIZO, Individual,

                  Defendants.
  _____________________________________/

                  OFFER OF JUDGMENT PURSUANT TO FEDERAL RULE
                              OF CIVIL PROCEDURE 68


          TO:     PLAINTIFF, PEPITO RODRIGUEZ, JR., BRIAN h. POLLOCK, ESQ,

  AND HIS ATTORNEYS OF RECORD:

          Defendants,REX AUTO SERVICE CORP, a Florida Profit Corporation;

  OSWALDO CARRIZO, Individual,(“Defendants”) hereby offer to allow entry of judgment to

  be taken against them pursuant to Rule 68 of the Federal Rules of Civil Procedure as follows: a

  judgment in favor of plaintiff,PEPITO RODRIGUEZ, JR., (“Plaintiff”) and against

  Defendants, jointly and severally, in the sum of $4,801.00 (four thousand, eight-hundred and one

  dollars) less the amount of costs accrued in favor of the plaintiff, with the result that the total

  judgment amount, including recoverable costs, which Defendants shall be obligated to pay shall

  be $4,801.00. This shall be the total amount to be paid by Defendants on account of any liability

  claimed in this action, including all costs of suit and attorney’s fees otherwise recoverable in this

  action by Plaintiff.

          If Plaintiff does not accept this offer, he may become obligated to pay Defendants’ costs

  incurred after the making of this offer.
Case 1:18-cv-21454-MGC Document 21 Entered on FLSD Docket 06/26/2018 Page 2 of 2




         To accept this offer, Plaintiff must serve written notice of acceptance thereof within ten

  (10) days of the date this offer is made.

         This offer is not an admission of liability by the Defendants, but rather is made solely for

  the purpose of compromising a disputed claim.


  DATED: June 26, 2018                         Law Office of Julio Gutierrez, P.A.

                                               Respectfully submitted,

                                               JULIO GUTIERREZ, P.A.
                                               2464 S.W. 137 Avenue
                                               Miami, Florida 33175
                                               Tel: (305) 325-8600
                                               Fax: (305) 553-9313

                                               /s/ Julio Gutierrez

                                               JULIO GUTIERREZ
                                               Florida Bar no.602426
                                               jgpa@msn.com


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

  June 26, 2018, by the Law Office of Julio Gutierrez, P.A., via CM/ECF to:

         Fairlaw Firm, Attorneys for Plaintiff, Pepito Rodriguez, c/o Brian H. Pollock, at
         brian@fairlawattorney.com; and

                                                               /s/ Julio Gutierrez, Esq.
                                                               Julio Gutierrez, Esq.
                                                               FBN: 602426
